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 UNITED STATES DISTRICT COURT                                  D.ATB FILED:        '1 /1 I/CB -75
 SOUTHERN DISTRICT OF NEW YORK

 HITACHI DATA SYSTEMS CREDIT
 CORPORATION,


                                 Plaintift

                   -against-                                   17-Cv-6851 (SHS)

                                                               OPINION & ORDER
     PRECISION DISCOVERY, INC., a New
     York corporation f/k/a Precision Discovery,
     LLC,

                                 Defendant.


 SIDNEY H. STEIN, U.S. District Judge.

          This case concerns a contract under which defendant Precision
 Discovery, Inc., leased certain data storage equipment from plaintiff,
 Hitachi Data Systems Credit Corporation ("HDSCC"). HDSCC alleged in
 its initial complaint that Precision had breached the contract by failing to
 make the required monthly rent payments. Precision responded to the
 complaint with not only an answer, but also nine separate counterclaims
 and third-party claims which alleged in sum that the contract was a sham
 and that HDSCC - conspiring with third-party defendants Cold Creek
 Solutions, Inc., and Hitachi Vantara Corporation1 -had procured
 Precision's agreement to the leasing contract through improper means.
 The motions of HDSCC, Hitachi Vantara, and Cold Creek to dismiss these
 counterclaims and third-party claims are now before the Court. Because

 1Hitachi Vantara Corporation w as originally su ed under its former name of "Hitachi
 Data Systems," and is sometimes referred to as "HDS" in the briefing relevant to this
 decision. The Court will use the name "Hitachi Vantara Corporation" throughout this
 decision.




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 this Court cannot assert personal jurisdiction over the third-party
 defendants, Precision's third-party claims must be dismissed. Because
 Precision has failed to state any claim against HDSCC, Precision's
 counterclaims must also be dismissed. The case will thus revert to being
 what it truly is: a breach of contract action between a lessor and a lessee.

    I.      Background

        The following facts are drawn from Precision's amended
 counterclaims and third-party complaint (ECF Doc. 56). The Court
 assumes the truth of the factual allegations in that document for purposes
 of these motions to dismiss. The Court also relies on the contract at issue,
 which was attached to HDSCC' s original complaint and is integral to
 Precision's counterclaims and third-party claims. See Nicosia v.
 Amazon.com, Inc., 834 F.3d 220, 230-31 (2d Cir. 2016).

        Around January 2012, HDSCC and Precision entered into a lease
 agreement defining the terms under which Precision would lease
 equipment from HDSCC to be identified in attached schedules. (Def.'s
 Arn. Answer, Counterclaims, and Arn. Third-Party Cornpl. ("Arn. Third-
 Party Cornpl."), ECF Doc. 56, ':[':[ 34-35.) These schedules were negotiated
 "from time to time" beginning in January 2012. (Id.) All appeared to be
 well with the arrangement for approximately the next five years.
 However, in November 2016 an email from a Hitachi Vantara employee
 made clear that Schedule J, which had been signed by Precision and
 HDSCC tw o months earlier, in September 2016, posed serious problems
 for Precision. (Id. ':II':II 81, 107-108.)

         Through the terms of Schedule J, Precision had, according to it,
 agreed to lease from HDSCC only outdated equipment that could not
 support Precision's data storage needs, and had further agreed to return
 all of the other equipment it had previously leased from HDSCC under
 other schedules, or else pay an additional fee to keep it. (Id.':[':[ 67-68, 77-
 81, 86-87, 89, 107-108.) As a result, in order to continue running its
 business, Precision would need to pay significant rent for outdated
 equipment inadequate for its needs, as well as additional fees in order to



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keep using the acceptable equipment it had been using previously. (Id. 'Il'Il
86-88, 107-108.) Precision states that it subsequently discovered that
Howard Holton, Precision's Chief Information Officer, had been engaged
 in what Precision calls an "improper arrangement" with the third-party
 defendants in this case. (Id. 'Il 44.)

        Third-party defendant Hitachi Vantara Corporation is the
 hardware and software company whose products were leased to Precision
 under the schedules. (Id. 'Il'Il 14, 37.) (HDSCC, the lessor in the contract at
 issue, was the finance company that Hitachi Vantara utilized for lease
 transactions. (Id . 'Il 34.)) Third-party defendant Cold Creek Solutions, Inc.
 is an authorized equipment reseller for Hitachi Vantara. (Id. 'Il 23.)
 According to Precision, both Hitachi Vantara and Cold Creek were closely
 involved in the negotiation of Schedule J, despite the fact that only lessor
 HDSCC and lessee Precision are parties to Schedule J and the original
 lease agreement. (Id. 'Il'Il 34-38.)

         Precision's Chief Information Officer Howard Holton was a
 negotiator and signatory of Schedule J for Precision. (Id. 'Il'Il 44, 58, 81.)
 Over the months prior to and immediately after the signing of Schedule J,
 Holton had several interactions with Cold Creek and Hitachi Vantara that
 Precision characterizes as demonstrating an improper and unethical
 relationship that created "obvious, irreconcilable and irrevocable conflicts
 of interest[.]" (Id. 'Il'Il 44-65.) For instance, while Holton was employed by
 Precision, he was also secretly earning additional income as a consultant or
 contractor for Cold Creek. (Id. 'Il'Il 46-47.) Without Precision's knowledge,
 Hitachi Vantara and Cold Creek also provided Holton with various
 expensive gifts allegedly including lavish meals, alcohol, and tickets to
 sports events. (Id. 'Il'Il 52-56, 65.) Holton had a particularly close
 relationship with one Hitachi Vantara employee, Billy Metting, who
 allowed Holton to borrow his truck, eventually selling it to him. (Id. 'Il'Il
 58-63.)

       Precision alleges that Cold Creek and Hitachi Vantara, working
 with HDSCC, leveraged these improper interactions to induce Holton into




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 executing Schedule J on Precision's behalf, all the while knowing that the
 equipment they were providing was unsuitable for Precision. (Id. 1[1[ 36-
 43, 64, 66-91.) Precision also alleges that a Cold Creek employee induced
 Holton to fraudulently sign an installation certificate claiming that the
 equipment had been installed, when in fact it had not been, in order for the
 Cold Creek and Hitachi Vantara sales teams to be able to receive their
 commissions. (Id. 1[1[ 92-106.)

         Finally, Precision alleges that with the help of forensic accountants,
 it discovered that in addition to improperly inducing Holton to execute
 Schedule J and sign the installation certificate, HDSCC, Cold Creek, and
 Hitachi Vantara had "perpetrated a scheme to defraud Precision Discovery
 into making approximately $2.5 million in overpayments over the prior six
 years." (Id. 1[ 112.). Precision provides very few details about this scheme,
 only alleging that "the overpayments were extremely difficult to detect, as
 they were the result of HDSCC' s business practice of rolling Precision
 Discovery's existing leases into new leases, and then overcharging
 Precision Discovery large amounts on equipment that was actually
 included in the prior leases." (Id. 1[ 3.)

        Based on the above facts, Precision asserts five causes of action
 against both plaintiff HDSCC and third-party defendants Hitachi Vantara
 and Cold Creek; two causes of action solely against HDSCC; and two
 causes of action solely against the third-party defendants. Against both
 HDSCC and the third parties, Precision asserts a claim of fraudulent
 inducement with regard to Schedule J; a claim of fraud and fraudulent
 misrepresentation regarding Schedule J; a civil RICO claim based on use of
 interstate mail and wires to defraud Precision; a civil conspiracy claim;
 and a claim for breach of the implied warranty of good faith and fair
 dealing. (Id. 1[1[ 115-151.) Against only HDSCC, Precision asserts a claim of
 conversion regarding the funds it paid to HDSCC pursuant to Schedule J
 before discovering it was fraudulent, and an unjust emichment claim
 regarding those same funds. (Id. 1[1[ 152-167.) Against only Hitachi Vantara
 and Cold Creek, Precision asserts a claim of tortious interference with




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 contract and business relations, arguing that Hitachi Vantara and Cold
 Creek caused Precision to breach the Schedule J agreement by fraudulently
 inducing Precision to execute it, and a claim of aiding and abetting
 HDSCC's conversion. (Id. 11168-177.)

       As relief for these claims, Precision requests a declaration that
 Schedule J is unenforceable; an injunction barring HDSCC, Cold Creek,
 and Hitachi Vantara from seeking Schedule J's enforcement; and money
 damages. (Id. at 36-37.)

          HDSCC has now moved to dismiss all of Precision's claims against
 it for failure to state a claim pursuant to Federal Rule of Civil Procedure
 12(b)(6), and third-party defendants Hitachi Vantara and Cold Creek have
 also moved to dismiss all third-party claims against them. The third party-
 defendants move both for failure to state a claim pursuant to Rule 12(b)(6)
 and for lack of personal jurisdiction over them pursuant to Rule 12(b)(2).
 This Court subsequently permitted Precision to file an amended version of
 its counterclaims and third-party complaint meant to respond to the
 personal jurisdiction arguments raised by Cold Creek and Hitachi V antara,
 specifying that the pending motions to dismiss would remain in place. See
 Order dated Mar. 19, 2018, ECF Doc. 55.

    II.     Legal Standards

        As noted above, HDSCC moves pursuant to Rule 12(b)(6), while
 Hitachi Vantara and Cold Creek move pursuant to both Rule 12(b)(6) and
 Rule 12(b)(2).

         When considering a Rule 12(b)(6) motion to dismiss, a court must
 "draw all reasonable inferences in [the non-movant's] favor, assume all
 well-pleaded factual allegations to be true, and determine whether they
 plausibly give rise to an entitlement to relief." Faber v. Metro. Life Ins. Co.,
 648 F.3d 98, 104 (2d Cir. 2011) (internal quotation marks omitted). In other
 words, "[t]o survive a motion to dismiss, a complaint must contain
 sufficient factual matter, accepted as true, to 'state a claim to relief that is
 plausible on its face."' Nicosia v. Amazon.com, Inc., 834 F.3d 220, 230 (2d Cir.




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 2016) (quoting Ashcroft v . Iqbal, 556 U.S. 662, 678 (2009)). While facts
 alleged in the complaint must be accepted as true, factual allegations are
 distinguished from "conclusory allegations or legal conclusions
 masquerading as factual conclusions," which courts are "not ... bound to
 accept." Faber, 648 F.3d at 104 (internal quotation marks omitted). This
 standard, which typically applies to a defendant's motion to dismiss a
 plaintiff's complaint, applies equally to a counterclaim defendant's motion
 to dismiss a counterclaim, and to a third-party defendant's motion to
 dismiss a third-party complaint. See Aspex Eyewear, Inc. v . Clariti Eyewear,
 Inc., 531 F. Supp. 2d 620,622 (S.D.N.Y. 2008); U.S. Bank Nat'l Ass'n v.
 BFPRU I, LLC, 230 F. Supp. 3d 253, 259 (S.D.N.Y. 2017).

         In order to defeat the third-party defendants' motions to dismiss
 pursuant to Rule 12(b )(2) for lack of personal jurisdiction, Precision "must
 make a prima facie showing that jurisdiction exists," which "entails
 making legally sufficient allegations of jurisdiction, including an averment
 of facts that, if credited, would suffice to establish jurisdiction[.]" Charles
 Schwab Corp. v. Bank of America Corp., 883 F.3d 68, 81 (2d Cir. 2018)
 (alteration removed) (quoting Penguin Grp. (USA) Inc. v . Am. Buddha, 609
 F.3d 30, 34-35 (2d Cir. 2010)). "On a motion to dismiss for lack of personal
 jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2), the Court
 may look beyond the four comers of the complaint and consider all
 pleadings and accompanying affidavits and declarations, while still
 'resolving all doubts in [the non-movant's] favor."' Everlast World's Boxing
 Headquarters Corp. v. Ringside, Inc., 928 F. Supp. 2d 735, 737 n.1 (S.D.N.Y.
 2013) (citing DiStefano v. Carozzi N. Am., Inc., 286 F.3d 81, 84 (2d Cir. 2001)).

     III.      Discussion

            A. Lack of Personal Jurisdiction Over Third-Party Defendants

         The third-party defendants each argue that they are not subject to
 personal jurisdiction in New York and that therefore the third-party
 complaints against them must be dismissed for lack of jurisdiction. More
 specifically, both Hitachi Vantara and Cold Creek argue that even
 assuming that the text of New York's long-arm statute might cover the



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 third-party defendants, the federal Constitution's due process limitations
 do not permit this Court to exercise either general or specific personal
 jurisdiction over parties that have had the limited contact with the state of
 New York that they have had. Precision makes no serious argument to the
 contrary, almost entirely ignoring the third-party defendants' due process
 arguments. For the reasons set forth below, the Court finds that it does not
 have personal jurisdiction over either Hitachi Vantara or Cold Creek.

               1. General Jurisdiction

        Both third-party defendants contend that they are not subject to
 general, or all-purpose, jurisdiction in New York because they are not
 "essentially at home" in the state as the federal Constitution requires. The
 Court agrees.

         As the U.S. Supreme Court made clear in Daimler AG v. Bauman,
 due process requires that "only a limited set of affiliations with a forum
 will render a defendant amenable to all-purpose jurisdiction there." 571
 U.S. 117, 137 (2014). For a corporation, general jurisdiction is typically
 available only in the forum in which it is incorporated as well as the forum
 in which its principal place of business is located. See Gucci America, Inc. v.
 Weixing Li, 768 F.3d 122, 135 (2d Cir. 2014) (citing Daimler, 571 U.S. at 139 &
 n.19). The fact that a corporation does business in a state, even
 "substantial, continuous, and systematic" business, is not necessarily
 enough to subject the corporation to general jurisdiction in the state. See
 Daimler, 571 U.S. at 137-38. Rather, the corporation's affiliations with the
 forum must be "so continuous and systematic as to render it essentially at
 home in the forum State." Id. at 139 (internal quotation marks and
 alterations omitted). Only in an "exceptional case" does a corporation have
 "operations in a forum other than its formal place of incorporation or
 principal place of business" that are "so substantial and of such a nature as
 to render the corporation at home in that State." Daimler, 571 U.S. at 139
 n.19; see also Brown v . Lockheed Martin Corp., 814 F.3d 619, 627 (2d Cir.
 2016) ("in our view Daimler established that, except in a truly 'exceptional'




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 case, a corporate defendant may be treated as 'essentially at home' only
 where it is incorporated or maintains its principal place of business[.]").

        Precision points out that New York's long-arm statute authorizes
 general jurisdiction rather broadly, permitting the exercise of such
 jurisdiction for a corporation that does business in New York "not
 occasionally or casually, but with a fair measure of permanence and
 continuity." See Sonera Holding B.V. v. C:,ukurova Holding A.$., 750 F.3d 221,
 224 n.2 (2d Cir. 2014) (citing Tauza v. Susquehanna Coal Co., 220 N.Y. 259,
 267 (1917)). However, Precision fails to recognize that in order for this
 Court to exercise general jurisdiction, two separate requirements must be
 met: "1) state law must authorize general jurisdiction; and 2) jurisdiction
 must comport with constitutional due process principles." Reich v. Lopez,
 858 F.3d 55, 62 (2d Cir. 2017) (emphasis added) (internal quotation marks
 omitted). As the Second Circuit has recognized, it is entirely possible for
 the requirements of New York law to be satisfied, but for personal
 jurisdiction to nevertheless be absent due to constitutional requirements.
 See Sonera, 750 F.3d at 224-25 & n. 2 ("There is no need to address the scope
 of general jurisdiction under New York law because the exercise of general
 jurisdiction over C:,ukurova is clearly inconsistent with Daimler.").

        Even assuming that Precision is correct in its argument that the
 requirements of New York law are satisfied by the third-party defendants'
 business activities in New York, Precision has not made sufficient
 allegations to support the notion that an assertion of general jurisdiction
 here would comply with due process requirements post-Daimler. It is
 undisputed that neither Cold Creek nor Hitachi Vantara is incorporated in
 New York, and that neither corporation has its principal place of business
 in New York. Cold Creek is incorporated in and has its principal place of
 business in Colorado. Am. Third-Party Compl. ':II 23. Hitachi Vantara is
 incorporated in Delaware and has its principal place of business in
 California. Am. Third-Party Compl. ':II 14.

       The allegations by Precision in its third-party complaint against
 Cold Creek regarding Cold Creek's contacts in New York are merely that




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 Cold Creek did business with Precision while knowing that Precision's
 headquarters were located in New York; that Precision paid invoices to
 Cold Creek from its offices in New York; and that Cold Creek "was
 availing itself of business transactions occurring in New York." Am.
 Third-Party Compl. 'lI'lI 24, 28, 32, 33. These allegations are patently
 insufficient to add up to the "exceptional case" required by Daimler.
 Indeed, they are barely sufficient to establish that Cold Creek regularly
 does business in New York.

        As to Hitachi Vantara, Precision alleges that Hitachi Vantara is
 registered to do business in New York, maintains an office in New York,
 and does "extensive business" in the state. Am. Third-Party Compl. 'lI'lI
 18-19. While these allegations are more substantial than those asserted
 with regard to Cold Creek, they are still not enough to suggest that the
 corporation's activities in New York are so significant as to constitute the
 "exceptional case" contemplated by Daimler.

         As the Second Circuit has explained, "when a corporation is
 neither incorporated nor maintains its principal place of business in a
 state, mere contacts, no matter how 'systematic and continuous,' are
 extraordinarily unlikely to add up to an' exceptional case."' Brown v .
 Lockheed Martin Corp., 814 F.3d 619, 629 (2d Cir. 2016). Courts have often
 noted that allegations similar to those Precision makes here - particularly
 in regard to maintaining an office in New York and registering to do
 business in the state - are not sufficient to provide general jurisdiction
 after Daimler. See, e.g., Henkin v . Gibraltar Private Bank & Trust Co., CV 16-
 5452, 2018 WL 557866, at *3 (E.D.N.Y. Jan. 22, 2018) (finding that
 maintenance of an office in New York was not sufficient to create an
 exceptional case under Daimler); Sae Han Sheet Co., Ltd. v . Eastman Chemical
 Corp., 17 Civ. 2734, 2017 WL 4769394, at *3-*6 (S.D.N.Y. Oct. 19, 2017)
 (finding that registering to do business in New York State does not
 amount to consent to general jurisdiction, and citing cases); see also Gucci
 America, Inc . v . Weixing Li, 768 F. 3d 122, 135 (2d Cir. 2014) (no general




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 personal jurisdiction over a bank with branch offices in the forum but
 incorporated and headquartered elsewhere).

         Finally, Precision's allegation that "[u]pon information and belief,
 [Hitachi Vantara] conducts extensive business in the state of New York,"
 Am. Third-Party Compl. 1[ 18, is both vague and conclusory. Even if this
 were not the case, as explained above, evidence that a corporation which is
 neither incorporated nor headquartered in a state does business in that
 state is generally not enough to subject the corporation to general
 jurisdiction there. Rather, there must be something exceptional about a
 corporation's connection to that state that places the corporation "at
 home" there. Precision has made no allegation of any such exceptional
 connection here. Therefore, to assert general jurisdiction over Hitachi
 Vantara would violate the due process principles set forth in Daimler.

                2. Specific Jurisdiction

         Although neither Hitachi Vantara nor Cold Creek can be fairly
 described as at home in New York, and thus the third-party defendants
 are not subject to general jurisdiction in the state, Precision may still bring
 its third-party complaint against them in this District if they are
 nonetheless subject to specific jurisdiction in New York. For the reasons
 below, the Court finds that they are not.

          In order for a court to assert specific jurisdiction over a defendant,
 due process requires that "the defendant's suit-related conduct must create
 a substantial connection with the forum State." Walden v. Fiore, 571 U.S.
 277, 284 (2014). Importantly, this substantial connection must be created by
 the actions of the defendant seeking to avoid the assertion of jurisdiction -
 meaning, in this case, the requisite connections must have been created by
 Hitachi Vantara and Cold Creek, rather than by Precision. See Walden, 571
 U.S. at 284. Also important is the requirement that the contacts must be
 "with the forum State itself, not ... with persons who reside there." Id. at
 285. Here, Precision seeks to base specific personal jurisdiction over
 Hitachi Vantara and Cold Creek in New York largely on the fact that
 Precision - the plaintiff on this third-party complaint -has its headquarters



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 in New York. But the Supreme Court has clearly held that in order for
 specific jurisdiction to apply, "the plaintiff cannot be the only link between
 the defendant and the forum." Id. This ensures that defendants such as
 Hitachi Vantara and Cold Creek "will not be haled into a jurisdiction
 solely as a result of random, fortuitous, or attenuated contacts" with that
 jurisdiction. Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985)
 (internal quotation marks omitted).

         Here, Precision alleges various interactions between the third-party
 defendants and itself, but fails to allege that any interaction that did occur
 had anything to do with New York. The only specific action that Precision
 alleges took place in New York is Precision's payment of invoices from its
 offices there. Am. Third-Party Compl. 1I 28. But this action taken by
 Precision is not relevant to the jurisdictional analysis, as it is Cold Creek's
 and Hitachi Vantara' s conduct, not Precision's, which must establish a
 substantial connection to New York. See Walden, 571 U.S. at 284 ("the
 relationship must arise out of contacts that the' defendant himself creates
 with the forum State.").

         Moreover, Hitachi Vantara and Cold Creek both submit completely
 unchallenged declarations explaining that many of the interactions
 between the third-party defendants and Precision which are relevant to
 this suit took place outside of New York. Indeed, the declarations indicate
 that all business involving Schedule J was centered in Colorado, rather
 than New York. For instance, the declarations state that Hitachi Vantara,
 Cold Creek, and Precision all have offices in Colorado, and that "all
 meetings, discussions and/or presentations took place" in Colorado. Aff. of
 Paul Schwappach dated Feb. 2, 2018, <_!I<_!I 1-2, 5, 7; Deel. of William Metting
 dated Jan. 16, 2018, <_!I<_!I 2, 10. The declarations also state that the major
 figures involved in the alleged fraud, including Howard Holton (the
 allegedly faithless Precision employee), William Metting (a declarant and
 Hitachi Vantara employee who allegedly engaged in improper behavior),
 and Paul Schwappach (a declarant and Cold Creek employee who
 allegedly engaged in improper behavior) all worked out of Colorado.




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 Schwappach Aff. 1[1[ 1-2, 5; Metting Deel. 1[1[ 2, 8; Am. Third-Party Compl.
 1[1[ 44, 58-63, 99-100. Finally, the declarations state that the equipment at
 issue was delivered to Precision's office in Colorado, not to its New York
 headquarters, and that "all billings and communications to Precision were
 sent to and processed by Precision's Colorado offices." Schwappach Aff.
 1[1[ 8-9; Metting Deel. 1[ 13.

        Rather than challenge these assertions by Hitachi Vantara and Cold
 Creek, Precision argues that specific jurisdiction is proper under N.Y.
 C.P.L.R. § 302(a), which provides in part that personal jurisdiction is
 available for a "non-domiciliary ... who in person or through an agent ...
 commits a tortious act without the state causing injury to person or
 property within the state" so long as that non-domiciliary both "expects or
 should reasonably expect the act to have consequences in the state and
 derives substantial revenue from interstate or international commerce[.]"
 Precision does indeed allege that it was financially injured at its
 headquarters in New York, and that both Cold Creek and Hitachi Vantara
 knew that their allegedly fraudulent actions would hurt Precision there. 2
 Precision also presents evidence that the third-party defendants engage in
 interstate commerce. See Exs. A-M to Deel. of Lawrence M. Pearson dated
 Apr. 18, 2018. But once again, Precision fails to recognize that in addition
 to having a valid statutory basis, "the exercise of personal jurisdiction
 must comport with constitutional due process principles." Waldman v.

 2The Court notes that there is some doubt that these allegations are sufficient under
 the relevant portion of N .Y. C.P.L.R. § 302(a): courts have noted that "[i]t is settled
 New York law that the suffering of economic damages in New York is insufficient,
 alone, to establish a 'direct' injury in New York for N.Y. C.P.L.R. § 302(a)(3)
 purposes." Penguin Grp. (USA) Inc. v. American Buddha, 609 F.3d 30, 38 (2d Cir. 2010).
 Similarly, "[t]he occurrence of financial consequences in New York due to the
 fortuitous location of plaintiffs in New York is not a sufficient basis for jurisdiction
 under§ 302(a)(3) where the underlying events took place outside New York."
 NewMarkets Partners LLC v. Oppenheim, 638 F. Supp. 2d 394, 403 (S.D.N .Y. 2009)
 (quoting Whitaker v. Am. Telecasting, Inc. , 261 F.3d 196, 209 (2d Cir. 2001)). However,
 the Court need not decide this issue because, as explained below, exercising specific
 jurisdiction on this basis would violate constitutional due process principles, and is
 therefore impermissible.




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 Palestine Liberation Org., 835 F.3d 317, 327 (2d Cir. 2016) (internal quotation
 marks omitted).

         As noted above, the Supreme Court held in Walden v. Fiore that in
 order for an exercise of specific jurisdiction to be constitutionally proper,
 "the defendant's suit-related conduct must create a substantial connection
 with the forum State." 571 U.S. at 284. In the wake of that decision, the
 Second Circuit has explained that "[t]he relevant 'suit-related conduct' .. .
 [is] the conduct that could have subjected [defendants] to liability[.]"
 Waldman, 835 F.3d at 335. Here, that conduct is Hitachi Vantara's and Cold
 Creek's alleged participation in the fraudulent inducement of Precision's
 agreement to Schedule J and the installation certificate, as well as their
 alleged participation in overcharging Precision for leased equipment over
 a longer period of time.

         The declarations before the Court state that this conduct occurred
 in Colorado, not in New York, and Precision has not alleged otherwise in
 its third-party complaint. Thus, it appears that no suit-related conduct by
 Hitachi Vantara or Cold Creek occurred in New York. Although Precision
 does not raise the possibility that personal jurisdiction may nonetheless be
 constitutionally proper under the "effects test," such an argument would
 have failed if it had been made. Under the "effects test," even conduct that
 takes place entirely outside the forum may be enough to allow personal
 jurisdiction if "the defendant expressly aimed its conduct at the forum."
 Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161, 173 (2d Cir.
 2013). However, the Second Circuit has explained that in the wake of
 Walden, "mere knowledge that a plaintiff resides in a specific jurisdiction
 would be insufficient to subject a defendant to specific jurisdiction in that
 jurisdiction if the defendant does nothing in connection with the tort in
 that jurisdiction." Waldman, 835 F.3d at 338.

          That is the scenario we have here. The allegations by Precision and
  the declarations by officials of Hitachi Vantara and Cold Creek
  demonstrate that all conduct by Hitachi Vantara and Cold Creek related to
  this lawsuit - including relevant interactions between Precision and those




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 companies - took place in Colorado. The sole connection between the
 third-party defendants' suit-related conduct and New York is the
 allegation that while Cold Creek and Hitachi Vantara were defrauding
 Precision in Colorado, they knew that Precision's headquarters were
 located in New York. That knowledge is not enough to subject the third-
 party defendants to personal jurisdiction in New York.

         Although Cold Creek and Hitachi Van tar a may have been able to
 foresee harm in New York as a result of their interactions with Precision in
 Colorado, "the fact that harm in the forum is foreseeable ... is insufficient
 for the purpose of establishing specific personal jurisdiction over a
 defendant." In Re Terrorist Attacks on September 11, 2001, 714 F.3d 659, 674
 (2d Cir. 2013). And although Precision has alleged that Hitachi Vantara has
 some contacts with New York other than its knowledge of Precision's
 presence there- such as the fact that it has an office in New York and does
 business there - there is no allegation of any relationship between these
 contacts and the alleged wrongdoing. Under a specific jurisdiction
 analysis, "defendants cannot be made to answer in this forum with respect
 to matters unrelated to the forum connections." Waldman, 835 F.3d at 341
 (internal quotation marks omitted).

         Because Precision has not alleged that Hitachi Vantara or Cold
 Creek engaged in suit-related conduct that took place in New York or was
 expressly aimed at New York, it has not met its burden to make a prima
 facie showing that specific personal jurisdiction over those third-party
 defendants exists in this state.

               3. Nationwide Service of Process and Civil RICO Claim

         For the reasons set forth above, the Court finds that the third-party
 defendants do not have a sufficient relationship to New York to be subject
 to either general or specific personal jurisdiction in this state. Nonetheless,
 Precision urges that personal jurisdiction over Cold Creek and Hitachi
 Vantara is present because one of Precision's numerous third-party claims
 is a claim made under the civil RICO statute, which provides for
 nationwide service of process. See 18 U.S.C. § 1965(b). Because Precision



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 has failed to state a valid civil RICO claim, it cannot rely on this provision,
 and thus its final argument for personal jurisdiction over the third-party
 defendants fails.

                       a. Extent of Personal Jurisdiction Authorized by Civil
                          RICO Statute

         The Second Circuit has held that 18 U.S.C. § 1965 "does not provide
 for nationwide personal jurisdiction over every defendant in every civil
 RICO case, no matter where the defendant is found." PT United Can Co.
 Ltd. v. Crown Cork & Seal Co., Inc., 138 F.3d 65, 71 (2d Cir. 1998). Rather, the
 court explained, "a civil RICO action can only be brought in a district court
 where personal jurisdiction based on minimum contacts is established as
 to at least one defendant." Id. Once that initial personal jurisdiction is
 established, the statute authorizes the court's assertion of nationwide
 personal jurisdiction over other parties, including co-defendants and third-
 party defendants, where the "ends of justice" so require. Id. In order to
 comply with due process, any such additional defendant need meet only a
 national contacts test, meaning they must have minimum contacts with the
 United States. See Herbstein v. Bruetman, 768 F. Supp. 79, 81 (S.D.N.Y.
 1991). If these requirements are satisfied, the Court may also be permitted
 to exercise personal jurisdiction over such defendants for other claims that
 arise out of the same operative facts as the civil RICO claim, even if
 personal jurisdiction would not otherwise be present as to those claims.
 See JUE AFL-CIO Pension Fund v. Herrmann, 9 F.3d 1049, 1056-7 (2d Cir.
 1993).

         Because the notion that HDSCC (the original plaintiff and
 counterclaim defendant in this case) is subject to personal jurisdiction in
 New York is not in dispute, and because Cold Creek and Hitachi Vantara
 clearly have extensive contacts with the United States, Precision suggests
 that this Court may exercise personal jurisdiction over the third-party
 defendants. Cold Creek and Hitachi Vantara argue that Precision has
 failed to state a valid civil RICO claim, and that therefore the claim must
 be dismissed pursuant to Rule 12(b)(6). If a civil RICO claim is dismissed,




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 that statute's authorization of a national personal jurisdiction analysis can
 no longer be relied upon. See Sterling Interiors Group, Inc. v. Haworth, Inc.,
 No. 94 Civ. 9216, 1996 WL 426379, at *14 (S.D.N.Y. July 30, 1996).

                        b. Precision Fails to State a Civil RICO Claim

         Hitachi Vantara and Cold Creek both contend that Precision has
 failed to state a civil RICO claim for two principal reasons: first, that it has
 failed to allege adequately the existence of an enterprise-in-fact; and
 second, that it has failed to allege a pattern of racketeering activity.
 Because the Court agrees that Precision has failed to allege a pattern of
 racketeering activity, and such a pattern must be alleged in order for
 Precision's claim to survive, the third-party defendants' arguments
 regarding the enterprise-in-fact element need not be addressed. See First
 Capital Asset Mgmt. , Inc. v. Satinwood, Inc., 385 F.3d 159, 175 (2d Cir. 2004).

        In order to adequately plead the existence of a RICO pattern,
 Precision must allege facts giving rise to an inference of either closed-
 ended or open-ended continuity. See H.J. Inc. v. Northwestern Bell Telephone
 Co., 492 U.S. 229, 240-41 (1989). Closed-ended continuity refers to a "closed
 period of repeated conduct," and open-ended continuity refers to "past
 conduct that by its nature projects into the future with a threat of
 repetition." Id. Here, Precision has adequately alleged neither.

         To adequately plead closed-ended continuity, a plaintiff must
 allege "a series of related predicates extending over a substantial period of
 time." H.J., 492 U.S. at 242. This period of time is measured with reference
 to "the time during which RICO predicate activity occurred, not the time
 during which the underlying scheme operated or the underlying dispute
 took place." Spool v. World Child Intern . Adoption Agency, 520 F.3d 178, 184
 (2d Cir. 2008). In general, two years is considered a minimum "substantial
 period of time" in this Circuit. See Spool, 520 F.3d at 184; Difalco v. Bernas,
 244 F.3d 286,321 (2d Cir. 2001). The Second Circuit has "not viewed two
 years as a bright-line requirement," but has explicitly acknowledged that
 "it will be rare that conduct persisting for a shorter period of time
 establishes closed-ended continuity, particularly where ... the activities



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 alleged involved only a handful of participants and do not involve a
 complex, multi-faceted conspiracy." Spool, 520 F.3d at 184 (internal
 quotation marks omitted).

         Precision has not alleged RICO predicates extending over two
 years. The operative pleading alleges that "beginning in approximately
 June 2016, Counterclaim-Defendants began relying upon mail and wires,
 including email, to fraudulently induce Precision Discovery into entering
 into the sham Schedule J transaction." Am. Third-Party Compl. <_[ 135. It
 further alleges that "on or about September 9, 2016, Cold Creek sent email
 messages requesting that Holton" fraudulently sign the installation
 certificate. Id. <_[ 136. These allegations of mail and wire fraud predicates
 amount to a time period of less than one year.

         Precision tries to escape this fact by claiming that it has pleaded
 additional, earlier predicates by alleging that "Precision Discovery's
 forensic accountants uncovered evidence that Counterclaim-Defendants'
 fraudulent and deceptive lease practices have extended back to
 approximately January 2012." Id. <_[ 137. But this vague allegation does not
 amount to an allegation of a RICO predicate. It is unclear from the
 allegation if mail or wire fraud was used to accomplish these "fraudulent
 and deceptive lease practices," and not a single instance of a specific
 fraudulent action is alleged to have taken place prior to June 2016. This
 falls far short of the Rule 9(b) particularity requirement that fraud-based
 RICO predicates are required to meet. See O'Brien v. National Property
 Analysts Partners, 936 F.2d 674, 676 (2d Cir. 1991) ("Because plaintiffs
 premise these [RICO and other] claims, in large part, on defendants'
 alleged fraudulent conduct, plaintiffs must comply with Rule 9(b)[.]").
 Precision's further allegation that "Counterclaim-Defendants' pattern of
 racketeering activity existed for a significant amount of time prior to the
 execution of the sham Schedule J transaction," Am. Third-Party Compl. <_[
 138, is conclusory and is completely unsupported by specific factual
 allegations.




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        Precision has only alleged RICO predicates extending over a period
 of several months, falling far short of the general two-year minimum. This
 Court sees no reason to depart from that general minimum in this case,
 which is not particularly complex. Thus, Precision has failed to establish
 closed-ended continuity.

         The matter of open-ended continuity still remains. Precision
 contends that its allegations demonstrate a continuing threat of criminal
 activity because it alleges that the "Counterclaim Defendants' pattern of
 racketeering activity ... poses a threat of continued criminal conduct
 beyond the period during which their predicate racketeering activity has
 already occurred." Am. Third-Party Compl. ]138. This allegation consists
 of a conclusory paraphrase of the relevant case law and therefore the
 Court need not credit it on these motions .

         Precision also urges that the alleged fraud predicates constituted
 the "regular way" in which Cold Creek, Hitachi Vantara, and HDSCC did
 business and thus that the requirement of alleging open-ended continuity
 has been satisfied. See Cofacredit, S.A. v. Windsor Plumbing Supply Co., Inc.,
 187 F.3d 229, 243 (2d Cir. 1999) ("where the enterprise primarily conducts
 a legitimate business, there must be some evidence from which it may be
 inferred that the predicate acts were the regular way of operating that
 business, or that the nature of the predicate acts themselves implies a
 threat of continued criminal activity."). However, as noted above, the
 actual fraudulent predicates that Precision has alleged are quite limited -
 they took place over the course of a few months, and all involved Schedule
 J. They are thus insufficient to give rise to a plausible inference that Cold
 Creek and Hitachi Vantara regularly conducted business in a fraudulent
 manner.

         Therefore, Precision has adequately alleged neither open-ended nor
  closed-ended continuity. In the absence of continuity, there can be no
  pattern of racketeering activity. See H.J., 492 U.S. at 240-41. Because Hitachi
  Vantara and Cold Creek are not subject to personal jurisdiction in New




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 York, the third-party claims against them must be dismissed pursuant to
 Rule 12(b)(2).3

        B. Precision Fails to State Any Claim Against HDSCC

        As noted, HDSCC has moved to dismiss the numerous
 counterclaims against it pursuant to Rule 12(b)(6). For the reasons set
 forth below, the Court finds that the operative pleading fails to state any
 counterclaim against HDSCC, and must therefore be dismissed.

                 1. Fraudulent Inducement and Fraudulent
                     Misrepresentation

         The first two counterclaims that Precision asserts against HDSCC
 are claims of fraudulent inducement and fraudulent misrepresentation
 based on the same facts. Precision alleges that HDSCC knowingly
 misrepresented the suitability of the equipment it leased to Precision
 under Schedule J for Precision's business needs, and that Precision entered
 into the Schedule J lease in reliance on this misrepresentation. See Am.
 Third-Party Compl. 1[1[ 116-118, 120, 123-125, 127-129. Precision also
 alleges under these counts that the installation certificate was falsely
 entered into, and that therefore HDSCC is not entitled to any of the rent
 payments it demands. See Am. Third-Party Compl. 1[1[ 119, 126.


 3In its memoranda of law opposing the motions to dismiss filed by Hitachi Vantara
 and Cold Creek, Precision requests in a footnote the opportunity to conduct
 jurisdictional discovery, but provides no explanation of what evidence it would seek
 to discover or how that evidence would cure the deficiencies in its current
 jurisdictional allegations. This Court has discretion to deny a request for discovery
 regarding personal jurisdiction "where the allegations fail to state a basis for the
 exercise of jurisdiction, or where a plaintiff's proposed discovery, even if permitted,
 would not uncover facts sufficient to sustain jurisdiction." Kiobel v. Royal Dutch
 Petroleum Co., No. 02 Civ. 7618, 2009 WL 3817590, at *4 (S.D.N.Y. Nov. 16, 2009); see
 also Ehrenfeld v. Mahfouz, 489 F.3d 542,550 n.6 (2d Cir. 2007). Because Precision has
 made no indication of a theory on which personal jurisdiction would be proper in this
 case other than those the Court has already found to be legally insufficient, nor
 explained how discovery would permit it to support any such theory if it did exist, its
 passing request for jurisdictional discovery is denied.




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        In order to make out a claim of fraudulent inducement or
 fraudulent misrepresentation under New York law, a plaintiff must allege
 that: "1) the defendant made a material false representation, (2) the
 defendant intended to defraud the plaintiff thereby, (3) the plaintiff
 reasonably relied upon the representation, and (4) the plaintiff suffered
 damage as a result of such reliance." Eternity Global Master Fund Ltd. v.
 Morgan Guar. Trust Co. oJN.Y., 375 F.3d 168, 186-87 (2d Cir. 2004)
 (fraudulent misrepresentation); see also Wall v . CSX Transp. , Inc., 471 F.3d
 410, 415-16 (2d Cir. 2006) (fraudulent inducement).

        HDSCC contends that Precision has not sufficiently alleged any of
 these elements, and that the "hell or high water" clause in the lease at issue
 bars Precision from asserting any fraud-based counterclaims.4 The Court
 finds that because the express disclaimer in the relevant lease agreement
 specifically states that HDSCC made no representation regarding the
 suitability of the leased equipment, Precision cannot now claim that it
 reasonably relied on such a misrepresentation, and its claims of fraudulent
 inducement and fraudulent misrepresentation must therefore be
 dismissed.

        The Lease Agreement executed by lessor HDSCC and lessee
 Precision in January 2012 is expressly incorporated into Schedule J, and
 together the two documents make up the lease agreement pertaining to the
 equipment listed in Schedule J. See January 2012 Lease Agreement, Ex. 1 to
 Compl., ECF Doc. 1-2, at 1 ("Each Schedule shall constitute a separate and
 independent lease and contractual obligation incorporating the terms to
 this [Lease Agreement]."); Schedule J, Ex. 2 to Compl., ECF Doc. 1-2
 ("Lessee and lessor agree that this schedule incorporates the terms of the
 referenced lease agreement which, together with the terms of this
 schedule, constitute the lease between lessee and lessor for the

 4 HDSCC identifies the "hell or high water clause" as the portion of the contract
  stating that "Lessee's obligations to pay all amounts due are absolute and
  unconditional and shall not be subject to any abatement, reduction, set off, defense,
  counterclaim, interruption, deferment or recoupment for any reason whatsoever."
  January 2012 Lease Agreement, Ex. 1 to Compl., ECF Doc. 1-2, § 5.




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 equipment."). The January 2012 Lease Agreement, and thus the lease for
 the equipment listed in Schedule J, explicitly states that "lessor has not
 made, and does not hereby make, any representation or warranty as to the
 title, merchantability, performance, condition, quality, description,
 durability, fitness or suitability for purpose by lessee or any other person
 of any of the equipment ... or any other representation or warranty with
 respect to the equipment." January 2012 Lease Agreement§ 6.3.

         Under well-established New York law, if a party to a contract has
 "stipulated that it is not relying on any representations as to the very
 matter as to which it now claims it was defrauded," then the "specific
 disclaimer destroys the allegations in [the party's] complaint that the
 agreement was executed in reliance upon" any such misrepresentation. See
 Danann Realty Corp . v . Harris, 5 N .Y.2d 317, 320-21 (1959); see also Grumman
 Allied Industries, Inc. v . Rohr Industries, Inc., 748 F.2d 729, 734 (2d Cir. 1984)
 (citing Danann as holding that "where a party specifically disclaims
 reliance upon a representation in a contract, that party cannot, in a
 subsequent action for fraud, assert it was fraudulently induced to enter
 into the contract by the very representation it has disclaimed.").

         That is precisely - pun intended - the case here. Precision
 executed an agreement with HDSCC which specifically stated that HDSCC
 had not made any representation regarding the suitability of the
 equipment in Schedule J for Precision's purposes. See January 2012 Lease
 Agreement§ 6.3. Precision now claims that it was defrauded because it
 relied upon a misrepresentation that "the data storage equipment
 identified on Schedule J was suitable for Precision Discovery's data storage
 and IT infrastructure needs." Am. Third-Party Compl. ':[':[ 116, 124. The
 Danann rule specifically bars such a claim, as the specific disclaimer
 "make[s] it impossible for [Precision] to prove one of the elements of a
 claim of fraud: that it reasonably relied on the representations that it
 alleges were made to induce it to enter into" Schedule J. DynCorp v . GTE
 Corp., 215 F. Supp. 2d 308,319 (S.D.N.Y. 2002).




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         Precision's arguments to the contrary are meritless. Precision first
 cites to case law suggesting that reasonable reliance is a factual matter that
 should not be decided without the benefit of discovery. However, the case
 law on which Precision relies does not involve an express disclaimer such
 as the one here and is thus easily distinguishable. See Space Coast Credit
 Union v. Barclays Capital, Inc., No. 11 Civ. 2802, 2012 WL 946832, at *1
 (S.D.N.Y. Mar. 20, 2012). Courts applying New York law have dismissed
 fraud claims pursuant to the Danann rule at the motion to dismiss stage.
 See Harsco Corp. v. Segui, 91 F.3d 337, 345-47 (2d Cir. 1996); see also
 DynCorp, 215 F. Supp. 2d at 319-321.

        Next, Precision contends that because the express disclaimer is
 contained only in the 2012 Lease Agreement, and not in Schedule J, it is
 not part of the lease of the Schedule J equipment. That argument fails
 because, as noted above, Schedule J specifically incorporates the 2012
 Lease Agreement and states that the two documents together constitute
 the lease of the Schedule J equipment. See Schedule J; see also January 2012
 Lease Agreement at 1.

         Finally, Precision points out that the January 2012 Lease Agreement
 states that Precision is "entitled under Article 2A of the UCC to the
 promises and warranties, including those of any third party, provided to
 Lessor [HDSCC] by the Vendor in connection with the contract pursuant
 to which Lessor acquired the Equipment (or the right to use the
 Equipment)." 2012 Lease Agreement § 6.2. Precision argues that because
 such warranties provided by the Vendor are not yet before the Court, its
 fraud claims should not be dismissed at this point.

         Even assuming that a misrepresentation in such a vendor warranty
  could be attributed to HDSCC, in order to sufficiently plead a claim of
  fraud, pursuant Fed. R. Civ. P. 9(b) Precision must state its case with
  particularity- meaning it must "(1) specify the statements that [it]
  contends were fraudulent, (2) identify the speaker, (3) state where and
  when the statements were made, and (4) explain why the statements were
  fraudulent." Rombach v. Chang, 355 F.3d 164, 170 (2d Cir. 2004) (citation




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 omitted). Precision has not alleged any of this information about any
 potential warranty made by a vendor and thus cannot rely on such a
 possible warranty to state a claim for fraud.

         Although Precision mentions the installation certificate under its
 fraud claims in the operative pleading, in its briefing on the motion to
 dismiss the counterclaims it does not argue that Howard Holton' s signing
 of the installation certificate can support either a fraudulent inducement or
 fraudulent misrepresentation claim. To the extent that Precision does
 allege that Holton' s alleged false endorsement of the installation certificate
 makes out a claim of fraud against HDSCC, that claim must fail. The only
 false statement alleged to be made with regard to that incident was made
 by Holton, an employee of Precision. Thus, Precision does not allege that
 HDSCC made any false statement with regard to the installation certificate
 - a necessary element of any fraud claim. See Eternity Global Master, 375
 F.3d at 186-87.

       Because Precision has not sufficiently alleged each of the necessary
 elements for a fraud claim, its counterclaims against HDSCC for
 fraudulent misrepresentation and fraudulent inducement must be
 dismissed pursuant to Rule 12(b)(6).

                2. Civil RICO

         Precision pleads it civil RICO claims against HDSCC, Hitachi
 Vantara, and Cold Creek together, and all three of those parties make
 similar arguments for why the civil RICO claims must be dismissed. The
 Court has already found, supra Section III.A.3.b, that Precision has failed to
 state a civil RICO claim pursuant to Rule 12(b)(6) because it has not
 adequately alleged continuity and therefore has not adequately alleged the
 existence of a pattern of racketeering activity. For the same reason, the
 civil RICO claim against HDSCC must be dismissed.

                3. Civil Conspiracy

      HDSCC contends that Precision's counterclaim alleging that
  HDSCC engaged in a civil conspiracy with Hitachi Vantar a and Cold




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 Creek must be dismissed because Precision has not adequately alleged any
 underly:ing tort. Although Precision admits that in order to state a claim
 for civil conspiracy, it must also plead an underlying tort, see Ray Legal
 Consulting Group v . Di]oseph, 37 F. Supp. 3d 704, 722 (S.D.N.Y. 2014) ("a
 claim for civil conspiracy may only lie if it is connected to a separate
 underlying tort"), it suggests that it has met this requirement by
 adequately pleading its fraud claims and its civil RICO claim. However,
 the Court has already determined that Precision has not set forth either a
 fraud claim or a civil RICO claim. Therefore, no underlying tort has been
 properly alleged and Precision's civil conspiracy counterclaim against
 HDSCC must be dismissed pursuant to Rule 12(b)(6).

                4. Breach of the Implied Covenant of Good Faith and Fair
                   Dealing

        Precision also alleges that HDSCC has breached the implied
 covenant of good faith and fair dealing that is generally part of all
 contracts under New York law. Precision's claim is again based on its
 allegation that HDSCC induced Precision to agree to Schedule J knowing
 that the equipment provided would be unsuitable. Am. Third-Party
 Compl. 'lI'lI 147-150.

        "In order to find a breach of the implied covenant [of good faith
 and fair dealing], a party' s action must directly violate an obligation that
 may be presumed to have been intended by the parties." Gaia House Mezz
 LLC v . State Street Bank and Trust Co., 720 F.3d 84, 93 (2d Cir. 2013) (internal
 quotation marks omitted). "The covenant cannot be used ... to imply an
 obligation inconsistent with other terms of a contractual relationship." Id.
 (citing Dalton v . Educational Testing Service, 87 N.Y. 2d 384,389 (1995)).

        Here, the contractual relationship at issue is that established by
 Precision's agreement with HDSCC to lease the equipment listed in
 Schedule J under the terms contained in the January 2012 Lease
 Agreement. Precision does not allege that HDSCC prevented it from
 leasing the equipment listed in Schedule J, or failed to provide that
  equipment as promised, or violated any other obligation contained or




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 presumably intended by that agreement. Rather, Precision asserts that the
 equipment in Schedule J was not suitable for its purposes, and that
 HDSCC knew this. Not only did the contract contain no promise that the
 equipment would be suitable, it contained an explicit disclaimer stating
 that HDSCC did not promise that the equipment would be suitable.
 January 2012 Lease Agreement§ 6.3.

         Therefore, Precision's allegation that HDSCC knowingly induced it
 to lease unsuitable equipment does not relate to any obligation that
 HDSCC had under the relevant contract, and cannot be characterized as a
 violation of the implied covenant of good faith and fair dealing.
 Precision's claim for a violation of the implied covenant is dismissed.

               5. Conversion

        Precision also alleges a claim of conversion against HDSCC for the
 "several hundred thousand dollars" it paid to HDSCC as rent for the
 Schedule J equipment before concluding the transaction was fraudulent,
 and therefore that it did not owe any rent to HDSCC. Am. Third-Party
 Compl. 1I 153.

        One necessary element of conversion is that the plaintiff (in this
 case, Precision), must have a "possessory right or interest in the property"
 and that the defendant (in this case, HDSCC) must have "dominion over
 the property or interference with it, in derogation of plaintiff's rights."
 Colavito v. New York Organ Donor Network, Inc., 8 N.Y.3d 43, 50 (2006).
 Precision attempts to fulfill these elements by alleging that "[a]s a result of
 the fraudulent nature of the [Schedule J] transaction, HDSCC acted
 without authorization in accepting and keeping the funds it received from
 Precision Discovery." Am. Third-Party Compl. 1I 156. But this allegation
 assumes in a conclusory fashion that the facts alleged throughout the
 complaint do, if true, constitute fraudulent inducement or
 misrepresentation.

         The Court has already found that Precision has failed to state any
  fraud claim against HDSCC. Aside from that rejected theory, Precision




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 has set forth no other basis to suggest that HDSCC acted improperly in
 accepting and retaining the rent that Precision paid for the Schedule J
 equipment. Therefore, Precision has failed to allege necessary elements of
 conversion, and its conversion claim against HDSCC must be dismissed
 pursuant to Rule 12(b)(6).

               6. Unjust Enrichment

        Finally, Precision claims that HDSCC has been unjustly enriched by
 the several hundred thousand dollars Precision already paid under the
 Schedule J agreement. Arn. Third-Party Cornpl. <_II 164. This claim, like the
 conversion and implied covenant claims, appears to be just another
 version of Precision's inadequately pled fraudulent inducement and
 misrepresentation claims.

         The New York Court of Appeals has made clear that "unjust
 enrichment is not a catchall cause of action to be used when others fail."
 Corsello v. Verizon New York, Inc ., 18 N.Y. 3d 777, 790 (2012). More
 specifically, "[a]n unjust enrichment claim is not available where it simply
 duplicates, or replaces, a conventional contract or tort claim." Id. Where a
 plaintiff alleges "actionable wrongs" against a defendant, "[t]o the extent
 that these claims succeed, the unjust enrichment claim is duplicative; if
 plaintiff[' s] other claims are defective, an unjust enrichment claim cannot
 remedy the defects." Id. at 791.

        Here, the facts Precision alleges to support its unjust enrichment
 claim are virtually identical to those it alleges to support several of its
 other tort and breach of contract claims: HDSCC was paid for equipment
 that was not suitable for Precision's needs, and the installation certificate
 was falsely signed by a Precision employee although installation had not
 taken place. See Am. Third-Party Cornpl. <_!I<_!I 161-165.

         An allegation of unjust enrichment cannot remedy the problems,
  explained above, with Precision's many theories as to why it was legally
  wronged in its agreement to the Schedule J contract. Because the unjust
  enrichment claim is duplicative, it must be dismissed.




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   IV.    Conclusion

      For the foregoing reasons, the motions of Cold Creek and Hitachi
Vantara to dismiss all third-party claims against them, and the motion of
HDSCC to dismiss all counterclaims against it, are GRANTED.

Dated: New York, New York
       September 7, 2018

                                          SO ORDERED:




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